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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                             :
                                                     :
               v.                                    :      Case No. 21-CR-378 (TJK)
                                                     :
ARTHUR JACKMAN et al.,                               :
                                                     :
                      Defendants.                    :


                                  JOINT STATUS REPORT

        The United States of America, by and through its attorney the United States Attorney for

the District of Columbia, defendant Arthur Jackman, by and through his attorney Eugene Ohm,

defendants Paul Rae, Kevin A. Tuck, and Nathaniel A. Tuck, by and through their attorney John

Pierce, and defendant Edward George, Jr., by and through his attorneys Michael E. Lawlor and

Nicholas George Madiuo, provide this Joint Status Report to the Court.

               1.     On January 7, 2022, upon consideration of the parties’ January 6, 2022 Joint

Status Report and Motion to Continue, (Dkt. 78), the Court ordered the parties to submit a further

joint status report by March 4, 2022. The Court also tolled the defendants’ Speedy Trial rights in

the interest of justice, from January 7, 2022, to March 4, 2022, “for the reasons discussed in the

parties’ […] joint motion, including the complexity of the investigation and the production of

voluminous discovery.”

               2.     On January 21, 2022, the Court granted the government’s Motion for Rule

44 Inquiry, (Dkt. 80), as to defendants Paul Rae, Kevin A. Tuck, and Nathaniel A. Tuck, and

appointed Santha Sonenberg, Esq., as a conflicts attorney to determine whether Mr. Pierce’s

representation of such defendants creates any conflict of interest and, if so, whether the conflict

can be waived. Ms. Sonenberg’s final conflicts report and recommendation is due by March 31,

2022.
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               3.      As described in the government’s Memorandum Regarding Status of

Discovery as of February 9, 2022, (Dkt. 82), the government has continued to provide access to

voluminous discovery to the defendants in the Capitol Riot related cases. The government has also

continued to provide case specific discovery to the defendants in the instant matter.

               4.      It is the government’s position that, at present, almost all of the case specific

materials, discoverable at this time, have been tendered and/or made available to the defendants.

The government will continue to produce such items as they become available.

               5.      Given the volume of discovery that has been and is expected to be produced,

the defendants need additional time to meaningfully review such discovery and determine how

best to proceed in this matter, including making decisions regarding the filing of pretrial motions.

In addition, Ms. Sonenberg is still in the process of preparing her report and recommendation

regarding Mr. Pierce’s joint representation of defendants Rae, Kevin A. Tuck, and Nathaniel A.

Tuck.

               6.      The parties request that the Court set this matter for an additional Joint

Status Report to be filed on or before May 3, 2022.

               7.      None of the defendants are in pretrial custody.

               8.      The parties agree that time should be excluded under the Speedy Trial Act

from March 4, 2022, through May 3, 2022, in the interest of justice for the reasons previously

provided by the Court.

               9.      On December 1, 2021, all of the defendants in this case were charged in a

second superseding indictment for which each must still be arraigned. Dkt. 72. The parties request

that the Court set this matter for an arraignment at its earliest convenience.




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               10.     The undersigned Assistant U.S. Attorney has received permission from

counsel for defendants Jackman, Rae, George, and Kevin A. Tuck and Nathaniel A. Tuck to file

this Joint Status Report.

                                           Respectfully submitted,

                                           MATTHEW M. GRAVES
                                           United States Attorney
                                           DC Bar No. 481052

                                    By:     /s/ Christopher K. Veatch
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